                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )       NO. 3:14-00090
                                                  )       JUDGE CAMPBELL
WILLIAM EARL FOSTER, JR.                          )

                                           ORDER

       Pending before the Court is the Defendant’s Motion To Suppress Vehicle Stop (Docket

No. 461). The Court held a hearing on the Motion on January 28, 2015. For the reasons stated

on the record, the Motion is DENIED.

       It is so ORDERED.

                                                  ____________________________________
                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




 Case 3:14-cr-00090      Document 555       Filed 01/28/15     Page 1 of 1 PageID #: 1947
